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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

   WARNER RECORDS INC., et al.,

          Plaintiffs,

   v.
                                             Case No. 1:19-cv-00874-RBJ-MEH
   CHARTER COMMUNICATIONS, INC.,

          Defendant.



        CHARTER COMMUNICATION, INC.’S RESPONSE TO PLAINTIFFS’ PARTIAL
          OBJECTION TO SPECIAL MASTER’S MAY 29, 2020 ORDER RESOLVING
                             DISCOVERY DISPUTES
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          Defendant Charter Communications, Inc. (“Charter”) hereby responds to Plaintiffs’ Partial

   Objection to Special Master’s May 29, 2020 Order Resolving Discovery Disputes. ECF 199

   (“Objection”).

                                           INTRODUCTION

          Charter is an internet service provider (“ISP”) that provides high speed internet service

   through which subscribers have the freedom to access the internet as they choose. Plaintiffs are

   multi-billion-dollar music conglomerates that represent 65 of the world’s largest record labels and

   music publishers, who have sued Charter based on theories of secondary copyright infringement

   for 11,027 separate works-in-suit. Plaintiffs claim that Charter should have done more to control

   certain allegedly infringing activity taking place through the accounts of its third-party subscribers.

   Plaintiffs have not sued the allegedly infringing subscribers or BitTorrent, or any the developers

   of the other peer-to-peer protocols, that they claim was used for the alleged underlying acts of

   infringement. Plaintiffs allege that Charter should have known about infringing activity through

   notices of alleged infringement sent by the agent of the record labels, the RIAA. They take this

   position despite the facts that none of the music publishers sent such notices; Plaintiffs sent no

   notices of alleged infringements to Charter during the Claim Period for the works in suit after

   March 2015—the last year of the “Claim Period”; and the notices Charter did receive specified

   only a fraction of the works in suit.

          Plaintiffs have carefully selected a dated snapshot as their Claim Period—before Plaintiffs

   figured out how to take advantage of the massive potential of the internet, which in recent years

   has brought Plaintiffs’ profits to record levels, driven by streaming revenues from those accessing

   the internet through ISPs like Charter. Nevertheless, through this and their other lawsuits, Plaintiffs

   seek windfall damages against ISPs like Charter for what happened during the Claim Period—

   seeking statutory damages here in excess of $1.6 billion.


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             Plaintiffs are challenging multiple rulings issued by Special Master Regina Rodriguez.

   First, Plaintiffs are challenging the Special Master’s Order limiting discovery of monthly

   subscriber revenue to the “Discovery Period” (March 24, 2012 to May 17, 2016)—the entire Claim

   Period at issue plus one year prior, in connection with Plaintiffs’ Request for Production (“RFP”)

   33. The Special Master followed the Court’s prior ruling on a similar request, and rejected

   Plaintiffs’ demand that this production extend beyond the Discovery Period. That ruling is

   unassailable, as subscriber revenue information for this later time period is wholly irrelevant and

   thus the production is not proportional to the needs of this case. See ECF 181 at 35-36.

             Plaintiffs are further seeking to avoid—or at least delay—the requirement to respond to

   Charter’s Interrogatories 13-15, which seek basic factual information about Plaintiffs’ claimed

   works, and the notices at issue. Plaintiffs appear to prefer to repeat the uncertainty that marred the

   recent Cox case, where more than seven months after the jury trial, the court and the parties are

   still sorting out the answer to some of these questions necessary to finally ascertain the number of

   works at issue (and thus eligible for an individual statutory damages award) through post-trial

   rulings;1 determinations that will substantially reduce Plaintiffs’ billion-dollar verdict in that case.

   Plaintiffs have had ample opportunity to present, argue, reargue, and also moved to reconsider

   these issues before the Special Master. For any or all the reasons discussed during the hearing, in

   the Order, and herein, the Court should uphold the Special Master’s rulings.

                                           LEGAL STANDARD

             The order appointing the Special Master states that “[a]ny order, report, or recommendation

   of the Master on nondispositive motions (unless it involves a finding of fact or conclusion of law)

   will be deemed a ruling on a procedural matter” which can “only” be set aside if “it constitutes an



   1
       See Sony Music Entm’t v. Cox Commc’ns, Inc., 2020 WL 3121306, at *26 (E.D. Va. June 2, 2020).


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   abuse of discretion.” ECF 143, ¶ 6. The discovery rulings to which Plaintiffs object are “procedural

   matters.” See, e.g., Ramos v. Banner Health, 2018 WL 4700707, at *2 n.2 (D. Colo. Aug. 8, 2018)

   (“scope of discovery” is a “procedural matter.”) (quoting Callwave Comm’c LLC v. AT&T Mobility

   LLC, 2016 WL 3450736, at *1, n.3, n.4 (D. Del. June 16, 2016)); see also Univ. of Texas at Austin

   v. Vratil, 96 F.3d 1337, 1340 n.3 (10th Cir. 1996). To satisfy the “abuse of discretion” standard,

   the Special Master’s Orders must be deemed to be based on “an arbitrary, capricious, whimsical,

   or manifestly unreasonable judgment.” See Baldwin v. US, 2012 WL 7051296, at *3 (D. Colo.

   Sept. 17, 2012) (finding that the plaintiff’s allegations of erroneous discovery rulings and fee

   allocations did not properly demonstrate that the Special Master met the requirements for abuse of

   discretion, which is “an arbitrary, capricious, whimsical, or manifestly unreasonable judgment”)

   (citation omitted). As explained herein, the Special Master did not abuse her discretion.

                                                ARGUMENT

   I.      IT WAS NOT AN ABUSE OF DISCRETION FOR THE SPECIAL MASTER TO
           LIMIT PLAINTIFFS’ REQUEST FOR MONTHLY SUBSCRIBER REVENUE TO
           THE RELEVANT TIME PERIOD

           The Special Master’s finding that Plaintiffs’ request for revenue information beyond the

   Claim or Discovery Period was irrelevant to their claims is supported by prior rulings of this Court,

   the needs of this case, and is consistent with relevant case law. In denying Plaintiffs’ RFP 33, the

   Special Master reviewed the Court’s prior ruling on a near-identical issue and agreed that

   Plaintiffs’ request for revenue information for the accused subscribers should be restricted to the

   Discovery Period. See Ex. 8 at 148:15-19 (the Special Master noted “I will look back again at

   Judge Hegarty’s ruling on this issue [RFP 33] … .”); see also ECF 181 at 35-36 (denying Plaintiffs’

   RFP 33).2 Plaintiffs’ request exceeds the scope of permissible discovery because it extends beyond


   2
    Per the Court’s Civil Practice Standards, references the exhibit numbers are to those exhibits attached to
   Plaintiffs’ Objections and references to exhibit letters are to those attached hereto.


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   the date when Plaintiffs sent their final notice to Charter in March 2015 and the Claim Period

   specified in their Complaint. See ECF 123 at ¶ 5 (First Amended Complaint).

          Plaintiffs insist that this information is relevant because Charter charges its subscribers

   subscription fees for general internet use, so thus Charter derived a “financial benefit” from its

   subscribers’ alleged infringing activity on the network that apparently extends forever. See id., ¶¶

   2, 115. Courts have rejected that these general internet fees are sufficient to satisfy a “direct

   financial benefit” as a matter of law. Indeed, invoking the same period for which Plaintiffs have

   sued Charter here, Plaintiffs have sued Bright House Networks (“BHN”), which merged with

   Charter in May 2016. BHN is now a subsidiary of Charter. Plaintiffs chose both to sue Charter in

   Colorado and sue the now-defunct BHN in Florida. See UMG Recordings, Inc. et al. v. Bright

   House Networks, LLC, Case No. 8:19-cv-710-MSS-TGW (M.D. Fla.) (“UMG v. BHN”). While

   this Court allowed Plaintiffs’ vicarious liability claim to stand on a Rule 12(b)(6) motion to

   dismiss, the UMG v. BHN court dismissed with prejudice an identical claim, on the ground that

   the “direct financial benefit” requirement for vicarious liability was not satisfied when infringing

   content was not the “main draw” to the internet service. UMG v. BHN, 2020 WL 3957675, at *1,

   *5-6 (M.D. Fla. July 8, 2020). That ruling is consistent with UMG Recordings, Inc. v. Grande

   Commc’ns Networks, LLC, 2018 WL 1096871, at *10 (W.D. Tex. Feb. 28, 2018), adopted by 2018

   WL 2182282 (W.D. Tex. Mar. 26, 2018) (Plaintiffs’ theory “would impose liability on every ISP,

   as the music at issue is available on the Internet generally, as is the BitTorrent protocol, and is not

   something exclusively available through [the ISPs] services”).

          In any event, even with the vicarious liability claim still in the case, there is no justification

   to extend discovery about subscriber revenue beyond the Claim Period or Discovery Period.

   Plaintiffs’ request seeks the revenue information from May 17, 2016 to the present for any




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   subscriber identified in Plaintiffs’ notices. This Court, as well as the Special Master, have

   repeatedly found this period of subscriber revenue to be irrelevant to Plaintiffs’ claims.

          Plaintiffs previously moved before this Court on RFP 19, which sought identical revenue

   information on a per-subscriber basis through the present, but the Court expressly restricted it to

   the Discovery Period. Ex. 3 at 34:17-25, 46:9-47:15. Plaintiffs’ Objection regarding RFP 33 seeks

   to circumvent the Court’s ruling for RFP 19, which established the relevant timeframe in this case

   for subscriber revenue information. Consistent with the Court’s and the Special Master’s rulings

   on the proper scope of subscriber revenue, Charter has already produced available revenue data

   for the accused subscribers during the Discovery Period, which includes data for over a year after

   the last notice Plaintiffs sent during the Claims Period (Bates No. CHA_00001359). See also Ex.

   A. Plaintiffs’ request for data through the present would require Charter to produce information

   for nearly 64 months after the Claim Period at issue. As the Special Master warned, Plaintiffs’

   expanded proposal “could go on forever” and “[a]t some point, there has to be a logical endpoint.”

   See Ex. 8 at 140:24-141:6. Plaintiffs have articulated no legal or factual basis to support their claim

   that their inquiry into Charter’s finances should be limitless and have no “logical endpoint.”

          Indeed, neither (1) the cases Plaintiffs cite nor (2) the Court’s Recommendation extend the

   boundaries of discovery beyond the relevant time periods, let alone beyond the period of alleged

   infringing activity. Rather, these cases only restate the direct financial benefit standard. See, e.g.,

   Ellison v. Robertson 357 F.3d 1072, 1079 (9th Cir. 2004) (clarifying the direct financial benefit

   standard but issuing no guidance on the scope of discovery). In fact, the Ellison court stated that

   evidence relating to a period after the plaintiff sent the only infringement notice recognized by the

   defendant and two days after the plaintiff filed suit, was “hardly compelling.” See Ellison v.

   Robertson, 189 F. Supp. 2d 1051, 1054 (C.D. Cal. 2002); see also Ellison, 357 F.3d at 1079. None




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    of the cases Plaintiffs rely on suggest general revenue from subscribers should be counted for years

    outside of the relevant Claim Period.

           Courts have similarly limited the time period for discovery related to vicarious

    infringement claims. See Stross v. River’s Edge Realty, LLC, 2018 WL 5733142, at *2 (W.D. Tex.

    Aug. 3, 2018) (sustaining defendant’s objection to plaintiffs’ discovery requests, which sought

    financial information in connection with the infringement, as overbroad because there was no

    limitation on the relevant time period). While Plaintiffs also cite the Court’s discussion of Ellison,

    that was about whether Plaintiffs’ vicarious liability claim could survive a motion to dismiss; not

    about vastly expanding the permissible discovery period. See ECF 71 at 11-12.

           The cases Plaintiffs rely on and cited in the Court’s Recommendation recognize that

    “infringing activity” is an essential element for vicarious infringement. See Ellison, 357 F.3d, at

    1079 (there must be a “causal relationship between the infringing activity” and the financial

    benefit) (emphasis added); see also Capitol Records, LLC v. Escape Media Grp., Inc., 2015 WL

    1402049, at *42 (S.D.N.Y. Mar. 25, 2015) (finding defendant had a clear “economic incentive to

    tolerate infringing conduct”) (emphasis added). In Perfect 10, Inc. v. Giganews, Inc., 2014 WL

    8628031, the court explained that “[t]his action is a specific lawsuit by a specific plaintiff against

    a specific defendant about specific copyrighted images; it is not a lawsuit against copyright

    infringement in general.” Id. at *4.

           Plaintiffs claim that their notices were how they informed Charter of supposed infringing

    activity on its network, yet, during the Claims Period, they stopped sending Charter these

    indicators in March 2015—more than a year before the end of the Claims Period. See ECF 123

    (FAC), ¶¶ 2, 10. What is actionable should be the allegedly “infringing activities at issue in th[e]

    case” for which Plaintiffs sent notices. BMG Rights Mgmt. (US) LLC v. Cox Commc’ns, Inc., 149




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    F. Supp. 3d 634, 676 (E.D. Va. 2015), aff’d in part, rev’d in part, 881 F.3d 293 (4th Cir. 2018)

    (quoting Perfect 10, Inc. v. Giganews, Inc., 2014 WL 8628031, at *4 (C.D. Cal. Nov. 14, 2014),

    aff’d, 847 F.3d 657 (9th Cir. 2017)).

           Plaintiffs have not cited any authority to suggest that they should receive revenue

    information long after the Claim Period at issue. Indeed, the “financial benefit” prong requires a

    “direct financial benefit” stemming from the infringing activity—not any financial gain

    whatsoever from a subscriber’s general internet use. See Adobe Sys. Inc. v. Canus Prods., Inc., 173

    F. Supp. 2d 1044, 1050 (C.D. Cal. 2001) (“[t]he direct financial benefit must stem from the fact

    that substantial numbers of customers are drawn to a venue with the explicit purpose of purchasing

    counterfeit goods” and the profits must “flow directly from customers who want to buy the

    counterfeit recordings”) (citation omitted). Otherwise, it would be a “limitless expansion of

    vicarious liability into spheres wholly unintended by the court.” Id.; see also UMG v. BHN, 2020

    WL 3957675, at *6 (“Significantly, Plaintiffs’ expansive interpretation of the draw theory

    effectively eliminates the requirement that the defendant receive a direct financial benefit from

    drawing the infringer to available infringing content. … At best, any such benefit would be indirect

    and attenuated rather than, as the foundational case law requires, ‘obvious and direct.’”) (citation

    omitted). Plaintiffs’ latest attempt to overturn the Special Master and the Court on their requests

    for revenue information from May 17, 2016 to the present should be denied.

           Moreover, though Plaintiffs admit they have received individual subscriber revenue data

    from Charter, they mischaracterize its scope. Plaintiffs try to minimize Charter’s production of

    responsive revenue data as “a single spreadsheet showing . . . billings,” but the spreadsheet

    produced is the complete revenue Charter obtained from over 11,000 subscribers identified in

    Plaintiffs’ notices for the Discovery Period. Plaintiffs have also omitted Charter’s agreement to




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    produce revenue data for over 11,000 more accounts it recently uncovered through a complex

    DHCP log matching process.

           Plaintiffs’ argument that they require additional revenue information because Charter

    “deleted ticket data,” ignores that the revenue information is entirely separate from the ticket data,

    which is only available going back a certain length of time because of Charter’s entirely reasonable

    retention policies. See Ex. B (Charter informed the Court and Plaintiffs that certain ticket data did

    not exist because of Charter’s retention policies); see also Ex. 3; see also Ex. 5 at 108:9-19 (“Based

    on the retention policies, we’ve been able to identify about 38,000 ticket information data packets

    for the notices that they provided around 11,000 subscribers, and we're working on the financial

    data”). Had Plaintiffs simply notified Charter of their claims after they sent their final notice in

    March 2015 instead of waiting a full year as they did here, the requested ticket data would have

    been subject to a litigation hold. It is improper to extend discovery beyond the Discovery Period

    because of Plaintiffs’ failure to timely inform Charter of their claims, and to reach back years to a

    snapshot in time to strategically define the Claim Period.

           Plaintiffs’ request seeks an additional 50 months (and counting) of revenue data even

    though it is untethered to their claims. The Special Master’s finding that the information would

    have minimal probative value carefully weighed the amount of additional data required by

    Plaintiffs’ request against the amount of data they have already received that was directly tied to

    their notices. Plaintiffs’ contention that all that would be involved is a simple query misconstrues

    the process and ignores the plain lack of relevance in the first place.

    For all these reasons, the Special Master’s Order should stand.

    II.    IT WAS NOT AN ABUSE OF DISCRETION FOR THE SPECIAL MASTER TO
           ORDER PLAINTIFFS TO RESPOND TO NOTICE INTERROGATORIES

           With regard to MPP Interrogatory 15 and RCP Interrogatory 14 (the “Notice



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    Interrogatories”), the Special Master found that:

            Contrary to Plaintiffs’ assertion, the information sought by MPP interrogatory 15
            and RCP interrogatory 14 is basic factual information that will need to be set forth
            in order for Plaintiffs to establish liability. Plaintiffs seek to hold Charter
            secondarily liable for infringement based on Charter’s purported knowledge of its
            subscribers’ alleged infringement. Plaintiffs allege that Charter possessed the
            requisite knowledge of infringement of each work in suit by virtue of the
            infringement notices sent to Charter by the Record Label Plaintiffs. However,
            Plaintiffs now argue that determining which work is identified in a particular notice
            would require expert analysis. I find these arguments to be in conflict.

    ECF 190 at 10.

            Charter requests that Plaintiffs identify which of the 11,027 works-in-suit are identified in

    the notices sent to Charter. Critically, the vast majority of Plaintiffs’ notices identify on their face

    only a single sound recording. Plaintiffs, however, take the position that these notices implicate

    many additional sound recordings not listed in the notice where the sound recording is allegedly

    contained on a torrent file with many other songs referenced only by a hash number. Plaintiffs’

    notices do not identify any music compositions—though the Music Publisher Plaintiffs are suing

    on 4,064 separate works in this case.

            According to Plaintiffs, these un-identified works are implicated by Plaintiffs’ notices by

    connecting a series of data sets created for the purpose of litigation by Plaintiffs and the third-

    parties with whom they work (i.e., the RIAA, MarkMonitor, and Audible Magic). Plaintiffs have

    explained part of this process, which, as the Special Master found, requires no expert analysis or

    opinion. However, Plaintiffs left one integral step out of their explanation. Plaintiffs did not explain

    how they tie the music file allegedly contained with the torrent shared by a Charter subscriber to

    the specific work asserted in this case.

            The mere fact that a torrent file shared by a Charter subscriber is titled “Rolling Stones

    Greatest Hits,” and one of the files listed on that song/torrent is titled “Gimme Shelter,” does not

    mean that “Gimme Shelter” is actually contained on that torrent. And even assuming that a copy


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    of “Gimme Shelter” is contained on that file, it does not mean that it is the same version Plaintiffs

    assert in this case. Plaintiffs are suing for infringement of a specific copyrighted work, which is

    identified by U.S. Copyright Office registration number on Exhibit A and B to Plaintiffs’ First

    Amended Complaint. Plaintiffs could be suing for the studio-recorded version of “Gimme Shelter”

    but the version contained on the torrent file could be a live version, an alternate recording, or Patti

    Smith’s acclaimed cover of the song. It could also be a corrupted file or something else entirely.

            Tying Plaintiffs’ notices to the specific works in suit is essential because Plaintiffs’ notices,

    and the works in suit they purportedly implicate, form the basis of Plaintiffs’ contributory liability

    claim against Charter through which they seek in excess of $1.6 billion in statutory damages.

    Plaintiffs must show that each of the 11,027 works in suit were directly infringed by Charter’s

    subscribers, and that Charter had knowledge of that infringement. The notices are the key to both

    these elements. Because it is Plaintiffs who determined which works to sue on in this case, and it

    is Plaintiffs who assert that these 11,027 works are implicated in at least one notice, it is Plaintiffs’

    burden, at least initially, to demonstrate that a particular torrent file contains a copy of the specific

    work asserted. The Special Master recognized this and ordered Plaintiffs to respond to the Notice

    Interrogatories.

            Plaintiffs’ Objection of the Special Master’s Order is premised on two factual inaccuracies.

    First, Plaintiffs assert that collecting this information would be equally burdensome for each party.

    Not so. Consistent with their Rule 11 obligations in bringing this case, Plaintiffs have already

    determined the specific works-in-suit that are implicated by notices in this case, something Charter

    could not do without confirming the same with Plaintiffs. Thus, Plaintiffs’ burden is lower.

    Second, Plaintiffs inaccurately claim that what the Special Master ordered with respect to these

    interrogatories requires expert analysis. While it may require Plaintiffs to devote some time and




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    resources to connect the dots—that is different from expert analysis or opinion, which the parties

    will disclose at a later point in this case. The Special Master recognized these distinctions and,

    accordingly, ordered Plaintiffs to respond to Charter’s interrogatories. Thus, the Special Master’s

    Order was not an abuse of discretion.

           A.      The Procedural History Confirms That the Special Master Permitted
                   Extensive Argument and Re-Argument Before Reaching Her Decision

           The Special Master considered extensive briefing and argument before ordering Plaintiffs

    to respond to the Notice Interrogatories. Initially, the parties submitted briefs on this issue. Ex. C

    & Ex. 10. Next, at the May 15, 2020 hearing, the parties devoted a substantial amount of time

    discussing what Charter sought, why it was essential to the case, and the process by which the

    interrogatory could be answered. Ex. 15 at 48:13-70:10. The Special Master acknowledged that

    the information sought by the Notice Interrogatories is critical but requested supplemental briefing

    on the question of whether Plaintiffs and Charter shared the same burden. Id. at 66:19-23, 68:14-

    19:11. The parties each submitted briefs. Plaintiffs explained the process by which one can tie

    notices to torrent files, claiming Charter could perform the same process. But Plaintiffs did not

    explain how they tied the contents of the torrent files to the specific works in suit. Ex. 16. Charter

    explained that it is Plaintiffs who readily possess the information to answer the interrogatory and

    should be the party who provides it. Ex. 17. Following the hearing and the supplemental briefing,

    the Special Master ordered Plaintiffs to respond to the Notice Interrogatories because the

    information was indisputably relevant and Charter’s burden in responding was greater than

    Plaintiffs’ burden. ECF 181 at 24-25.

           Plaintiffs next sent the Special Master a letter seeking “clarification” of the scope of the

    Special Master’s Order. Ex. D. While Plaintiffs stated that they sought “clarification of the timing

    and process through which Plaintiffs are expected to provide information responsive to [the Notice



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    Interrogatories],” id. at 1, Plaintiffs also re-argued why Plaintiffs did not believe they should be

    required to comply with the Court’s Order. Id. at 2. In addition, Plaintiffs argued that the

    information sought by the Notice Interrogatories required “expert analysis” and that their own

    expert would respond “somewhat along the lines of what Charter seeks (though not exactly).” Id.

    Charter argued that Plaintiffs’ loose use of the term “expert” was improper and was intended to

    mislead the Special Master, as Plaintiffs’ expert in the closely-related Sony case did not provide

    the information Charter seeks here. The whole purpose of the Notice Interrogatories was so that

    Charter could obtain verified, unrebutted representations regarding the most basic evidence in this

    case—which works in suit are alleged by Plaintiffs to be infringed by which notices.

           After receiving the supplemental briefing, the Special Master ruled on Plaintiffs’ request

    for clarification and reconsideration. ECF 190. In that Order, the Special Master reiterated that

    Plaintiffs must “identify each of the notices that corresponds to each of the works in suit.” Id. at

    10. Second, with respect to Plaintiffs’ request for reconsideration, the Special Master declined to

    reconsider the “order in light of the volume of information at issue[]” because the Notice

    Interrogatories seek “basic factual information that will need to be set forth in order for Plaintiffs

    to establish liability.” Id. The Special Master acknowledged that the notices of alleged

    infringement, and the works in suit they purportedly implicate, form the basis for Charter’s alleged

    knowledge, which is a critical element of Plaintiffs’ contributory liability claim. Id

           In addition, the Special Master explicitly rejected Plaintiffs’ contention that they would

    require an expert to respond to the Notice Interrogatories. The Special Master held as much

    because Plaintiffs had explained the process for tying works in suit to notices in their supplemental

    briefing and “[g]iven the number of works in suit and notices sent, that process will undoubtedly

    take time to complete. However, the mere fact that responding to discovery will be time consuming




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    does not render discovery improper.” Id. a 11.

            Finally, the Special Master again found that the burden on Plaintiffs is less than Charter’s

    burden for the same reasons set forth in the May 29 Order, namely that the notices do not identify

    on their face the vast majority of the works in suit and, just as critically, it is Plaintiffs who are in

    the position to determine whether the particular torrent files shared by Charter subscribers contain

    copies of the specific works Plaintiffs assert in this case. Id.

            B.      The Special Master Correctly Assessed the Parties’ Respective Burdens

            Plaintiffs’ burden in responding to the Notice Interrogatories is necessarily lower than

    Charter’s burden, and thus the Special Master’s order was not an abuse of discretion.

            Plaintiffs argue that the Special Master’s burden finding is erroneous for two reasons.

    Plaintiffs take issue with the May 29 Order’s reference to Charter’s argument to the Special Master

    that Plaintiffs “had to have determined which of their music compositions are implicated by the

    RCP’s notices and the RCP had to have determined which of their unidentified 5,000-plus sound

    recordings are implicated by their notices.” Id. (citing Ex. 16 at 2). But that statement is entirely

    accurate, as Plaintiffs conceded in their Objection. ECF 199 at 11 (“[I]n preparing to file this case,

    Plaintiffs confirmed that each work in suit was supported by at least one notice.”). And it is

    because Plaintiffs have already made this determination that their burden is necessarily less than

    Charter’s burden, as the Special Master found. That Plaintiffs must now use that information to tie

    each of their notices to the works in suit does not render the Special Master’s burden finding

    erroneous. As discussed above, the Special Master found that the fact that the analysis will take

    time does not change the fact that Plaintiffs’ burden is necessarily less than Charter’s burden.

            In addition, Plaintiffs argued before the Special Master, and again in their Objection, that

    “[t]he requested discovery does not exist in Plaintiffs’ files.” Id. at 11 (citing Ex. 18 at 1). Charter

    did not propound a document request, it propounded an interrogatory, so whether a document exist


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    in “Plaintiffs’ files” or not is irrelevant,3 which is why the Special Master rejected that argument.

    What is relevant is whether Plaintiffs can answer the question, which they admitted they can do,

    and whether Plaintiffs’ burden is less than Charter’s, which, as discussed above, it necessarily is.4

            Second, Plaintiffs argue that there is “no factual support for the Special Master’s

    conclusion that it would be easier for Plaintiffs to undertake the requested analysis that for Charter

    to do it.” ECF 199 at 11. That is false. Charter argued at length to the Special Master, as is outlined

    above, see supra 10-12, that Plaintiffs are better positioned to assess which of their specific works

    in suit is implicated by each notice. Thus, regardless of the fact that the parties may equally be able

    to follow the hash id identified in a notice to the torrent associated with that hash id and examine

    what files are purportedly contained on that torrent, that does not answer the question of what

    works in suit are allegedly contained within that torrent. Charter seeks Plaintiffs’ verified

    representation regarding what each of the notices they sent Charter contains so that Charter can

    determine whether the notice indeed identifies an infringing file or not. Plaintiffs are better situated

    than Charter to answer that question.

            It is for this reason that Plaintiffs’ response to the Notice Interrogatories cannot be satisfied

    by the production of documents. Plaintiffs cite Bayview Loan Servicing, LLC v. Boland, 259 F.R.D.

    516, 519 (D. Colo. 2009) for the proposition that documents can be produced in lieu of written

    responses, pursuant to Rule 33(d). In that case, the producing party provided detailed compilations


    3
      See United States v. High Plains Livestock, LLC, 2016 WL 10100734, at *3 (D.N.M. July 12, 2016)
    (“Litigants are often required to compile information from disparate sources when responding to
    an interrogatory.”); Rivera v. United Parcel Serv., 325 F.R.D. 542, 546 (S.D.N.Y. 2018) (“A party served
    with interrogatories under Rule 33 has a duty to ‘compile information within his control’ and provide
    ‘all information available’ in his responses) (quoting United States v. All Assets Held at Bank Julius Baer
    & Co., Ltd., 309 F.R.D. 1, 14 (D.D.C. 2015)).
    4
      Plaintiffs’ citation to King v. Solvay S.A., 2014 WL 4267457, at * 4 (D. Colo. Aug. 28, 2014) is misplaced,
    as Charter does not speculate regarding Plaintiffs’ burden as did the requesting party in that case. Charter
    recognizes that there is a substantial burden in responding to the Notice Interrogatories, though that burden
    is more than justified given the magnitude of the case and the importance of the requested information


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    of data that allowed the requesting party to fully analyze the loans at issue, which the court deemed

    sufficient based on the nature of the request at issue. Here, however, there are no documents

    Plaintiffs have produced to date that would confirm that a particular notice identified a specific

    group of Plaintiffs’ works in suit. If there were, Plaintiffs should produce these documents, as they

    are plainly responsive to a host of Charter’s outstanding document requests.

           Further, the Notice Interrogatories are tantamount to contention interrogatories, requiring

    Plaintiffs to represent the basis for their claims against Charter, necessitating Plaintiffs’

    “contention that relates to fact.” Atchison v. Saddleback Metro. Dist., 2008 WL 4681915, at *4 (D.

    Colo. Oct. 21, 2008) (“[I]t is not proper to object on the grounds that an interrogatory ‘asks for an

    opinion or contention that relates to fact or the application of law to fact … .’”) (quoting Fed. R.

    Civ. P. 33(a)(2)).

           The Special Master did not abuse her discretion in determining that Plaintiffs’ burden is

    less than Charter’s burden in providing the information responsive to the Notice Interrogatories.

           C.      Responding to Charter’s Interrogatories Does Not Require Expert Analysis

           Contrary to Plaintiffs’ assertion, responding to the Notice Interrogatories does not require

    expert analysis. As the Special Master recognized, the Notice Interrogatories seek “basic factual

    information that will need to be set forth in order for Plaintiffs to establish liability.” ECF 190 at

    10. And this basic factual information is compiled through the process Plaintiffs outline, which

    requires cross referencing datasets and, ultimately, tying the result of that process to the specific

    works in suit, which Plaintiffs are uniquely positioned to perform. As the Special Master found,

    “the mere fact that responding to discovery will be time consuming does not render discovery

    improper.” Id. at 11.

           Expert testimony is to “help the trier of fact to understand the evidence or to determine a

    fact in issue.” Fed. R. Evid. 702. Unlike expert testimony or analysis, the Notice Interrogatories


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    seek basic factual information produced in the form of a verified interrogatory. See, e.g., United

    States v. Caballero, 277 F.3d 1235, 1247 (10th Cir. 2002) (testimony regarding facts experienced

    or observed by witness proffers “no opinion, lay or expert”); see also Cable & Computer Tech.,

    Inc. v. Lockheed Saunders, Inc., 175 F.R.D. 646, 652 (C.D. Cal. 1997) (distinguishing between

    interrogatory damages information and later expert opinion related to the same). That a consultant

    who may also provide expert analysis in this case will be the person who ultimately undertakes the

    process for Plaintiffs to respond to the Notice Interrogatories does not render it expert opinion or

    analysis. As Plaintiffs concede, they do not intend to provide the information requested by the

    Notice Interrogatories, even when expert reports are due. Thus, Plaintiffs’ contention that the

    Special Master’s order requires expert analysis months before the deadline is without merit.

            Plaintiffs also argue that Charter would not be prejudiced by waiting for Plaintiffs’ expert

    disclosures in seven months. But, as noted above, Plaintiffs’ proposed expert analysis will not

    provide the information Charter seeks through the Notice Interrogatories. See supra 14-16.

    Plaintiffs’ anticipated expert opinion would not be expected to include the factual information

    Charter seeks with the Notice Interrogatories. Plaintiffs’ expert disclosure is likely to state, as

    Plaintiffs did in Sony, that each work in suit was subject of a notice received by a Charter subscriber

    after that subscriber received at least two prior notices. This is Plaintiffs’ theory of liability, but is

    not what Charter seeks with the Notice Interrogatories.

            Charter seeks to determine, during fact discovery, each notice that implicates each of

    Plaintiffs’ works in suit. Charter is entitled to understand which notices Plaintiffs contend identify

    which works in suit (particularly since Plaintiffs take the attenuated position that notices identify

    works that are not specifically referenced in the notice, which Charter intends to challenge on

    summary judgment), whether all of Plaintiffs’ works in suit are implicated, and whether there are




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    versions of songs implicated in notices for which Plaintiffs are not suing. If Plaintiffs failed to send

    notices for a particular work in suit, Charter will seek to exclude it, which removes up to $150,000

    in potential exposure per work. If certain of Plaintiffs’ notices do not even reference files that

    contain works in suit, Charter will argue for the removal of those notices as well.

           The Special Master did not abuse her discretion in holding that the Notice Interrogatories

    does not require expert analysis. Plaintiffs’ Objection should be overruled.

    III.   IT WAS NOT AN ABUSE OF DISCRETION FOR THE SPECIAL MASTER TO
           ORDER A TIMELY RESPONSE TO DISCOVERY IN THIS CASE

           A.      The Special Master Rightly Ordered Plaintiffs to Respond to the Derivative
                   Works Interrogatories

           Plaintiffs do not challenge the legal relevance underpinning Charter’s Derivative Works

    Interrogatories, but it is important context. Numerous courts, including most recently the Sony

    court, have held that plaintiffs are entitled to only one award of statutory damages for a music

    composition and its derivative sound recording. In this case, Plaintiffs assert 6,963 sound

    recordings and 4,064 music compositions for a total of 11,027 works in suit. By Charter’s estimate,

    approximately 3,000 of those sounds recordings are derivative of music compositions in suit. Thus,

    as opposed to being entitled to 11,027 awards of statutory damages (should Plaintiffs establish

    liability), Plaintiffs would be entitled to damages on approximately 8,000 works. That constitutes

    a $450 million reduction in potential statutory damages.

           Plaintiffs point to the procedure in Sony as if it should be a model of what should occur

    here. But what happened in Sony instead serves as a cautionary tale about what to avoid. In Sony,

    Cox attempted to resolve this issue on summary judgment, but the court deferred the issue for trial.

    The issue was not resolved at trial either. In granting Cox’s post-trial motion on this issue, the

    court recognized that the issue should have been resolved in Cox’s favor. Accordingly, months




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    after the jury deliberated, the number of derivative works for purposes of statutory damages

    remains uncertain.

           As the Special Master found in her July 6, 2020 Order:

           [T]he Sony Post Trial Order supports, rather than contradicts, my May 29 Order.
           Charter here seeks to gather the evidence that the plaintiffs in Sony accused the
           defendant there of failing to present. Here, Charter has specifically requested the
           information, the information is clearly and undisputedly relevant, and I have
           ordered it should be produced.

    ECF 190 at 7-8.

           Charter seeks to avoid what happened in Cox by resolving this issue during discovery

    through a verified interrogatory response from Plaintiffs. Without it, Charter would be forced to

    attempt to perform this analysis itself and then depose Plaintiffs’ representatives to attempt to

    verify its own analysis. Indeed, the dramatic financial impact of this issue alone necessitates

    Charter receive Plaintiffs’ responses on these issues.

           Plaintiffs’ reliance on Bayview Loan Servicing, LLC v. Boland, 259 F.R.D. 516, 519 (D.

    Colo. 2009) is misplaced. Charter is not asking Plaintiffs “to prepare” its “case.” Id. Rather, all the

    Derivative Works Interrogatories require is Plaintiffs to verify facts related to their works in suit

    so that Charter can argue at summary judgment that Plaintiffs are only entitled to a set number of

    statutory damages, should they establish liability. This is the most efficient process to resolve this

    important, basic, factual issue.

           Finally, Plaintiffs have already prepared this analysis and can easily provide it to Charter.

    Ex. D. Plaintiffs are neither burdened nor prejudiced by doing so, as the information Charter seeks

    is purely factual and squarely relevant to the parties’ claims and defenses. The Special Master

    recognized this and, accordingly, required Plaintiffs to produce the information as requested.

           B.      The Special Master’s Order Requiring a Response to the Derivative Works
                   Interrogatories by July 27, 2020 Was Not an Abuse of Discretion



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            The Special Master rightly recognized that there is no genuine risk of what Plaintiffs refer

    to as improper “cross-pollination” between this case and the post-trial briefing in Sony. In Sony,

    the court invited Cox to “prepare a list of overlapping works in suit.” Sony Music Entm’t, 2020

    WL 3121306, at *26. Once Cox has identified these overlapping works (a factual determination),

    the court permitted “Plaintiffs … sixty days to produce sufficient evidence to demonstrate which,

    if any, pairings or groupings should remain separate works … .” Id. “The [Sony] Court will

    determine the final number of works in suit as it deems appropriate based on both Parties’

    submissions.” Id. (emphasis added). Based on the procedure set up by the Sony court, Plaintiffs’

    fear that their provision of factual information in this case will somehow improperly influence the

    Sony court is entirely unfounded, as the Sony court is certainly capable ruling of ruling on the

    record as the Sony court deems appropriate.

            Further, Plaintiffs’ arguments relating to the risk of tainting the Sony record or Charter’s

    counsels’ minds with the information produced in this case make no sense.5 As Plaintiffs argue in

    the first section of their brief, the information needed to determine the overlap of sound recordings

    and music compositions is purely factual.6 The facts should not vary between cases unless

    Plaintiffs are misrepresenting the facts in one case.7

            Plaintiffs also complain that the Special Master ordered this discovery be produced by July

    27, 2020, which is a week before the date Cox is to make its post-trial submission. Plaintiffs


    5
      F.T.C. v. Exxon Corp., 636 F.2d 1336, 1350 (D.C. Cir. 1980) is inapposite, as it dealt with access by
    Exxon Corp.’s in-house legal counsel to a competitor’s sensitive financial information.
    6
      As Charter states above, that Charter may be able to attempt to perform this research and analysis itself
    does not obviate the need for Plaintiffs’ response in the form of a verified interrogatory, particularly since
    Charter hopes to move for summary judgment on this issue with an undisputed record.
    7
      Plaintiffs reference the Stipulated Protected Order in this case but that protects only information
    designated Confidential or Highly Confidential – Attorneys’ Eyes Only. The information Charter requests
    with the Derivative Works Analysis is neither. To use the example in Plaintiffs’ Objections, the fact that
    the sound recording titled “Everything,” performed by the artist Michael Buble is derivative of the music
    composition with the same title and by the same artist is not confidential.


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    complain that this is an “abuse of discretion” because Charter did not request the Special Master

    order the production by a date certain. Plaintiffs do not cite any support for their argument that a

    Special Master setting a date certain for production of information 60 days after she originally

    ordered it be produced could possibly qualify as an abuse of discretion. There is no reasonable

    argument it could be, of course, particularly in light of the fact that Plaintiffs have represented—

    on numerous occasions—that they had already compiled this information. If Plaintiffs wanted to

    avoid having to produce materials in one case while another case is pending, perhaps they should

    not have prosecuted such cases simultaneously. There is certainly no good reason to justify a stay

    or delay of Charter getting these responses here.

            In addition, contrary to Plaintiffs’ assertions, Charter explicitly opposed Plaintiffs’ request

    to delay a response until after the August 3, 2020 submission date in Sony because this particular

    discovery had been pending for over five months. Charter first served the requests on February

    13, 2020, to which Plaintiffs objected on March 26, 2020. The parties then met and conferred on

    the request over the ensuing month to no avail. On May 8, 2020, Charter moved to compel

    Plaintiffs’ response. On May 29, 2020, the Special Master ordered Plaintiffs respond. Plaintiffs

    then further delayed their response by filing a motion for reconsideration, citing the Sony order,

    the Special Master denied on July 6, 2020. Accordingly, the Special Master’s Order requiring a

    response of to the Derivative Works Interrogatories 60 days after it was first ordered is not an

    abuse of discretion, particularly in light of the fact that Plaintiffs represented that they could readily

    compile this information.

                                               CONCLUSION

            Based on the foregoing, the Court should overrule Plaintiffs’ Objection and uphold the

    Special Master’s rulings on Plaintiffs’ RFPs 13 and Charter’s Interrogatories 13-15.




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    Dated: July 20, 2020                          Respectfully submitted,

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                                      CERTIFICATE OF SERVICE

            I certify that on July 20, 2020, I caused a true and correct copy of the foregoing document

    to be electronically filed with the Clerk of the Court via CM/ECF, which will send a notice of

    electronic filing to all counsel of record.


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